Case 1:25-cv-21524-KMW Document 49 Entered on FLSD Docket 04/18/2025 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                           CASE NO. 25-21524-CV-WILLIAMS

  FLORIDA IMMIGRANT COALITION, et al.,

        Plaintiffs,

  v.

  JAMES UTHMEIER, et al.,

       Defendants.
  ___________________________________/

                                    OMNIBUS ORDER

        THIS MATTER is before the Court following the April 18, 2025 Preliminary

  Injunction Hearing (“Hearing”) in this matter. (DE 48.) For the reasons set forth at the

  Hearing, it is ORDERED AND ADJUDGED as follows:

        1. The Temporary Restraining Order (“TRO”) (DE 28) is EXTENDED and shall

            remain in effect through April 29, 2025 at 5:00 p.m. or until further order of

            the Court. The TRO shall be interpreted to include among those “who are in

            active concert or participation with” Defendants or their officers, agents,

            employees, or attorneys, and thus prohibited from enforcing SB 4-C, the

            following: any officer or other personnel within any municipal or county police

            department within Florida, the Florida Department of Law Enforcement, or the

            Florida Highway Patrol, and any other law enforcement officer with power to

            enforce SB 4-C. (DE 28 at 14); see also Fed. R. Civ. P. 65(d)(2)(C) (including

            “other persons who are in active concert or participation with” the parties or

            the parties’ officers, agents, servants, employees, and attorneys among those

            bound by any TRO). The TRO shall also be interpreted to prohibit any person

                                        Page 1 of 2
Case 1:25-cv-21524-KMW Document 49 Entered on FLSD Docket 04/18/2025 Page 2 of 2




             covered by the TRO from filing or maintaining any charge pursuant to Florida

             Statutes section 811.102 or 811.103.

         2. Defendants shall IMMEDIATELY provide actual notice of the TRO to all

             named Defendants and their officers, agents, employees, attorneys, and any

             person who is in active concert or participation with them and who has not

             already received actual notice.

         3. A Status Conference regarding the scope of the TRO/Preliminary Injunction

             (“PI”) is SET for April 29, 2025 at 1:30 p.m. before the Honorable Kathleen

             M. Williams in Room 11-3 of the Wilkie D. Ferguson, Jr. United States

             Courthouse, located at 400 North Miami Avenue in Miami, Florida.

         4. Defendants shall file a joint brief not exceeding fifteen (15) pages, explaining

             Defendants’ interpretation of the proper scope of the TRO/PI by April 23, 2025

             at 12:00 p.m. Plaintiffs shall file a joint response brief not exceeding fifteen

             (15) pages by April 26, 2025 at 5:00 p.m. Any joint reply brief by Defendants

             must be filed by April 28, 2025 at 3:00 p.m. and may not exceed five (5)

             pages.

         DONE AND ORDERED in Chambers in Miami, Florida, on this 18th day

  of April, 2025.




                                          Page 2 of 2
